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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


ELIZABETH LEDFORD,                              }
                                                }
       Plaintiff,                               }
                                                }
v.                                              }    Case No.: 2:17-cv-01990-RDP
                                                }
MIDLAND CREDIT MANAGEMENT,                      }
INC., et al.,                                   }
                                                }
       Defendants.                              }


                                  ORDER OF DISMISSAL

       In accordance with the parties’ Joint Stipulation of Dismissal with Prejudice (Doc. # 12),

filed January 18, 2018, the court hereby ORDERS that this action shall be, and is, DISMISSED

WITH PREJUDICE. The parties are to bear their own costs, expenses, and attorney’s fees.

       DONE and ORDERED this January 18, 2018.



                                            _________________________________
                                            R. DAVID PROCTOR
                                            UNITED STATES DISTRICT JUDGE
